
Davis, P. J. (dissenting).
Although present at the original argument of this case, my illness prevented my participating in its decision. I was strongly impressed on the argument that the verdict and judgment were erroneous, and ought to be set aside. I am still of that opinion, for it seems to me impossible correctly to come to any other conclusion than that the arrangement between the plaintiff and Fish was one perfectly understood between themselves, and in which Fish as president had no right or authority to involve the bank. The effort to use the formality of a deposit of money to be used in a fraudulent speculation for their benefit, and' which was so used, is chargeable upon both plaintiff and Fish, as a wrong against the bank, out of which neither should be permitted to reap any benefit. Everybody is bound to know that the president of a bank has no power to make such arrangements; an'd when Fish undertook to give the security of a corporate obligation to plaintiff for the money the latter put into the Grant &amp; Ward scheme, and out of which he expected to get such enormous returns, the plaintiff was chargeable with the knowledge that Fish could not by that sort of legerdemain impose any obligation whatever upon the bank.
I think, on the re-argument, the judgment should be reversed and a new trial granted.
